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       THE STATUS                  OF OUR NEW TERRITORIES.

       W
       7      HAT extent of territory do the United States of America
               comprise? In order to answer this question intelligently,
      it is necessary to ascertain the meaning of the term "United
      States."
         First. - It is the collective name of the States which are united
      together by and under the Constitution of the United States; and,
      prior to the adoption of that Constitution, and subsequently to the
      Declaration of Independence, it was the collective name of the thir-
      teen States which made that Declaration, and which, from the time
      of the adoption of the Articles of Confederation to that of the adop-
      tion of the Constitution, were united together by and under the
      former. This, moreover, is the original, natural, and literal mean-
      ing of the term. Between the time of the first meeting of the Con-
      tinental Congress, and that of the Declaration of Independence,
      the term "United Colonies" came into general use,2 and, upon in-
          1 The
                 following article was already planned, and in part written, when the writer
      first learned of Mr. Randolph's intention to furnish an article on the same general sub-
      ject for the January number of this Review. While, therefore, the writer desires to
      acknowledge the material assistance which he has derived from Mr. Randolph's article,
      he entirely disclaims any intention to answer it, or to criticise it.
         2 It first occurs in the
                                  Journal of the Continental Congress, under date of June 7,
      1775, vol. I. (ed. of I777), p. II4 ["Resolved, that Thursday, the 2oth of July next, be
      observed throughout the twelve United Colonies, as a day of humiliation, fasting, and
      prayer"]; and, from that time to the date of the Declaration of Independence, its use
      is very frequent. It occurs three times in the commission issued to Washington as
      commander-in-chief (p. 122), six times in the articles of war (pp. 133, 137, 138, I39,
      140), and twice in the Declaration of the United Colonies of North America, under
      date of July 6, I775, setting forth the causes and necessity of their taking up arms
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa

       366                     IAHA
                                  RVARD         LAW REVIEEW.

       dependence being declared, as the thirteen colonies became the
       thirteen States, the term was of course changed to "United States."
       In the Declaration of Independence both terms are used.' When
       the Articles of Confederation were framed, "United States of
       America" was declared to be the name and style of the confedera-
       tion created by those articles.2 This, however, had no other effect
       than to confirm the existing practice, and to increase the use of the
       term in the sense which it had already acquired; and accordingly,
       during the whole period of the Confederation, "United States"
       meant the same as "the thirteen United States," and the primary
       reason for using either term was to save the necessity of enumerating
       the thirteen States by name.
          Indeed, the Articles of Confederation were merely an agreement
       between the thirteen States in their corporate capacity, or, more
       correctly, an agreement by each of the thirteen States with all the
       others. There were, therefore, thirteen parties to the confederation,
       and no more, and the people of the different States as individuals
       had directly no relations with it. Accordingly, it was the States in
       their corporate capacity that voted in the Continental Congress, and
       not the individual members of the Congress; and hence the voting
       power of a State did not at all depend upon the number of its dele-
       gates in Congress, and in fact each State was left to determine for
       itself, within certain limits, how many delegates it would send.3
       Hence also each State had the same voting power.4 Even the
       style of the Continental Congress was "The United States in

      (pp. I43, I45). Sometimes the number of United Colonies was specified, and some-
      times it was not. The colony of Georgia did not unite with the other twelve, and so
      was not represented by delegates in Congress, until the thirteenth of September, I775
      (p. 197). Prior to that date, therefore, the term used was either the United Colonies,
      or the twelve United Colonies, while after that date it was either the United Colonies, or
      the thirteen United Colonies.
         While this term was making its way to the front, it had a competitor (which was
      even earlier in the field), in the term "Continent" or "Continental," which was also
      much used during the war of the Revolution. Perhaps an attentive study of the Jour-
      nal of Congress would show that "Continent" or "Continental" was not precisely
      synonymous with United Colonies or United States, but it certainly was very nearly so.
         1 "United Colonies" is used once, namely, in the concluding paragraph, and
      "United States" is used twice, namely, in the title and in the concluding paragraph.
         2 Art. i.
         3 By the fifth article of Confederation, no State was to be represented by less than
      two delegates, nor by more than seven.
        4
          Namely, each State had one vote. (Fifth Article of Confederation.)
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa
               THE      STATUS          OF OUR NEW   TERRITORIES.          367

      Congress assembled," -not      (as the present style would suggest)
      "The Delegates of the United States in Congress assembled"; and
      if the style had been "The Thirteen United States in Congress
      assembled," the meaning would have been precisely the same.
         Evidence to the same effect, as to the sense in which the term
       "United States" was used prior to the time of the adoption of the
      Constitution, is furnished by the treaties made during the period
      of the Confederation. Thus, the Treaty of Alliance made with
      France, February 6, 1778, begins: 1 "The Most Christian King
      and the United States of North America, namely, New Hampshire,"
      etc. (enumerating the thirteen States). So the Treaty of Amity
      and Commerce, made with France the same day, begins:2 "The
      Most Christian King and the thirteen United States of North
      America, New Hampshire," etc. So the Treaty of Amity and
       Commerce made with Holland, October 8, 1782, begins:3 "Their
      High Mightinesses, the States-General of the United Netherlands,
      and the United States of America, namely, New Hampshire," etc.
      So the Treaty of Amity and Commerce made with Sweden, April
      3, I783, begins:4 "The King of Sweden and the thirteen United
      States of North America, namely, New Hampshire," etc. Lastly,
      the Definitive Treaty of Peace with England, September 3, 1783,
      by which our independence was established, after a recital, pro-
      ceeds thus: 5 "Art. i. His Britannic Majesty acknowledges the
      said United States, namely, New Hampshire, &c., to be free, sove-
      reign, and independent States; that he treats with them as such;
      and relinquishes all claims to the government, propriety, and
      territorial rights."
         With the adoption of the Constitution there came a great
      change; for the Constitution was not an agreement, but a law, - a
      law, too, superior to all other laws, coming as it did from the ulti-
      mate source of all laws, namely, the people, and being expressly
      declared by them to be the supreme law of the land.6 At the
      same time, however, it neither destroyed nor consolidated the
      States, nor even affected their integrity; and, though it was estab-
      lished by the people of the United States; yet it was not estab-
      lished by them as one people, nor was its establishment a single act;
      but, on the contrary, its establishment in each State was the act of
                                                      2
                    8 U. S. Stats. 6.                     Page 12.
                                                      4
                3   Page 32.                              Page 60.
                5 Page 80.                            0 Art. 6, sect. 2.
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa
       368                 HIARVARD LAW REVIEW.

       the people of that State; and if the people of any State had finally
       refused to ratify and adopt it, the consequence would have been
       that that State would have ceased to be one of the United States.
       Indeed, the Constitution and the Articles of Confederation differ
       from each other, in respect to the source of their authority, in one
       particular only, namely, that, while the former proceeded from the
      people of each State, the latter proceeded from the Legislature of
      each State. In respect to their effect and operation also, the two
      instruments differ from each other in one particular only, namely,
      that, while the Articles of Confederation merely imposed an obli-
      gation upon each State, in its corporate and sovereign capacity, in
      favor of the twelve other States, the Constitution binds as a law,
      not each State, but all persons and property in each State. These
      differences, moreover, fundamental and important as they un-
      doubtedly are, do not, nor does either of them, at all affect either
      the meaning or the use of the term "United States"; and, there-
      fore, the conclusion is that the meaning which that term had the
      day after Independence was declared, it still retains, and that this is
      its natural and literal meaning.
         Regarded, then, as simply the collective name of all the States,
      do the United States comprise territory? Directly, they certainly
      do not; indirectly, they do comprise the territory of the forty-five
      States, and no more. That they comprise this territory only indi-
      rectly, appears f: om the fact that such territory will always be iden-
      tical with the territory of all the States in the aggregate, - will
      increase as that increases, and diminish as that diminishes.
         Secondly. - Since the adoption of the Constitution, the term
      "United States" has been the name of a sovereign, and that sove-
      reign occupies a position analogous to tl at of the personal sove-
      reigns of most European countries. Indeed, the analogy between
      them is closer, at least in one respect, than at first sight appears;
      for a natural person who is also a sovereign has two personalities,
      one natural, the other artificial and legal, and it is the latter that is
      sovereign. It is as true, therefore, of England (for example) as it
      is of this country, that her sovereign is an artificial and legal per-
      son (i. e., a body politic and corporate), and, therefore, never dies.
      The difference between the two sovereigns is, that, while the former
      consists of a single person, the latter consists of many persons,
      each of whom is a member of the body politic. In short, while the
      former is ascorporation sole, the latter is a corporation aggregate.
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa
                THE STATUS        OF OUR NEW        TERRITORIES.           369

          Who, then, are those persons of whom the United States as a
       body politic consists, and who constitute its members? Clearly
       they must be either the States in their corporate capacity, i. e.,
       artificial and legal persons, or the citizens of all the States in the
       aggregate; and it is not difficult to see that they are the former.
       Indeed, the latter do not form a political unit for any purpose.
       The citizens of each State form the body politic of that State, and
       the States form the body politic of the United States. The latter,
       therefore, consisted at first of the original thirteen States, just as
       the Confederation did; but, as often as a new State was admitted,
       a new member was received into the body politic, - which, there-
       fore, now consists of forty-five members. It will be seen, there-
       fore, that, while the United States, in its second sense, signifies the
       body politic created by the Constitution, in its first sense it signi-
       fies the members of that body politic in the aggregate. A conse-
       quence is that, while in its first sense the term "United States" is
       always plural, in its second sense it is in strictness always singular.
          The State of New York furnishes a good illustration of the two
      senses in which the term "United States" is used under the
      Constitution; for the style of that State, as a body politic, is "The
      People of the State of New York," and the members of that body
      politic are the citizens of the State. The term "people," therefore,
      in that State, means, first, all the citizens of the State in the aggre-
      gate (i. e., the members of the body politic), and, secondly, the body
      politic itself; and while in the former sense it is plural, in the latter
      sense it is singular.
          The term "United States" is used in its second sense whenever
      it is used for the purpose of expressing legal or political relations
      between the United States and the particular States, or between the
      former and foreign sovereigns or states, or legal relations between
      the former and private persons, while it is used in its first and
      original sense whenever it is desired to designate the particular
      States collectively, either as such or as members of the body
      politic of the United States. It is also used in that sense when-
      ever it is used to designate the territory of all the States in the
      aggregate.
         As a substitute for the term "United States," when used in its
      second sense, the term "Union" is often employed. The original
      difference between "United States" and "Union" was that, while
      the former was concrete, the latter was abstract; and hence it is
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa
       370                       HARVARD         LAW REVIEW.

       that the latter cannot be substituted for the former when used in its
       original sense.'
          When used in its second sense, it is plain that the term "United
       States" has no reference to extent of territory, either directly or in-
       directly. Regarded as a body politic, the United States may and
       does own territory, and may be and is a sovereign over territory, but
       to speak of its constituting or comprising territory would be no less
       absurd than to predicate the same thing of a personal sovereign,
       though the absurdity would be less obvious.
          Thirdly. - Since the treaty with England of September 3, 1783,
       the term "United States" has often been used to designate all terri-
       tory over which the sovereignty of the United States extended. The
       occasion for so using the term could not of course arise until
       the United States acquired the sovereignty over territory outside
       the limits of any State, and they first acquired such territory by the
       treaty just referred to. For, although, as has been said, that
       treaty was made with each of the thirteen States, yet, in fixing the
       boundaries, the thirteen States were treated as constituting one
       country, England not being interested in the question how that
       country should be divided among the several States. Moreover,
       the boundaries established by the treaty embraced a considerable
       amount of territory in the Northwest to which no State had any
       separate claim, and which, therefore, belonged to the United
       States; and the territory thus acquired was enlarged from time to
       time by cessions from different States, until at length it embraced
       the entire region within the limits of the treaty, and west of Penn-
       sylvania, Virginia, North Carolina, and Georgia, as the western
       boundaries of those States were afterwards established, with the
       exception of the territory now constituting the State of Kentucky.
       Then followed in succession the acquisitions from France, Spain,
       Texas, and Mexico. Out of all the territory thus acquired, twenty-
       eight great States have been from time to time carved; and yet there
       has never been a time, since the date of the treaty before referred
       to, when the United States had not a considerable amount of terri-
       tory outside the limits of any State.
          1 The term "Union" is used three times in the Constitution, namely, in Art. i,
       sect. 8, subsect. 15 [Congress shall have power "to provide for calling forth the militia
       to execute the laws of the Union, suppress insurrections, and repel invasions"]; in
       Art. 2, sect. 3 [the President "shall from time to time give to the Congress information
       of the state of the Union," &c.]; and in Art. 4, sect. 3, subsect. i ["new States may
       be admitted by the Congress into this Union"].
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa
               THE STATUS      OF OUR NEW       TERRITORIES.          37I,

         It is plain, therefore,that for one hundredand fifteen years there
      has been more or less need of some word or term by which to des-
      ignate as well the Territories of the United States as the States
      themselves; and such word or term ought, moreover,to have been
      one signifying directly not territory, but sovereignty, sovereignty
      being the only thing that can be predicatedalike of States and Ter-
      ritories. The same need was long since felt by England as well
      as by other European countries, and the word "empire" was
      adoptedto satisfy it; and perhapswe should have adoptedthe same
      word, if we had felt the need of a new word or term more strongly.
      Two peculiarities have, however, hitherto characterizedthe terri-
      tory held by the United States outside the limits of any State:
      first, such territory has been virtually a wilderness; secondly,
      it has been looked upon merely as material out of which new
      States were to be carved just as soon as there was sufficientpopu-
      lation to warrantthe taking of such a step; and hence the need of a
      single termwhich would embraceterritoriesas well as States has not
      been greatlyfelt. At all events,no such new term has been adopted;
      and hence "United States" is the only termwe have had to designate
      collectively either the States alone, or the States and Territories;
      and accordingly,while it has always been used for the formerof
      these two purposes,it has also frequentlybeen used for the latter.
         It is very important,however, to understandthat the use of the
      term "United States" to designate all territory over which the
      United States is sovereign, is, like the similar use of the word
      "empire" in England and other European countries, purely con-
      ventional; and that it has, therefore, no legal or constitutional
      significance. Indeed, this use of the term has no connection
      whateverwith the Constitutionof the United States, and the occa-
      sion for it would have been preciselythe same if the Articlesof Con-
      federationhad remainedin force to the present day, assumingthat,
      in other respects,our historyhad been what it has been.
         The conclusion,therefore,is that, while the term "United States"
      has three meanings, only the first and second of these are known
      to the Constitution; and that is equivalentto saying that the Con-
      stitution of the United States as such does not extend beyond the
      limits of the Stateswhich are united by and underit, - a proposition
      the truth of which will, it is believed,be placed beyond doubt by an
      examinationof the instances in which the term "United States" is
      used in the Constitution.
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa
       372                      HARVARD         LAW      REVIEW.

            Its use first occurs in the preamble,' in which it is used twice.
       The first time it is plainly used in its original sense, i. e., as the col-
       lective name of the States which should adopt it. If the words had
       been "We, the people of the thirteen2 United States respec-
       tively," the sense in which "United States" was used would have
       been precisely the same. Nor is there any doubt that it is used in
       the same sense at the end of the preamble. Of course there is a
       very strong presumption that when a constitution is made by a
       sovereign people, it is made exclusively for the country inhabited
       by that people, and exclusively for that people regarded as a body
       politic, and so having perpetual succession; and the same thing
       is true, mutatis mutandis, of a constitution made by the people of
       several sovereign States united together for that purpose. The
       preamble, however, does not leave it to presumption to determine
       for what regions of country and what people the Constitution of
       the United States was made; for it expressly declares that its
       purposes and objects are, first, to form a more perfect union
        (i. e., among the thirteen States, or as many of them as shall
       adopt it). Then follow four other objects which, though in terms
       indefinite as to their territorial scope, are by clear implication
       limited to the same States; 3 and lastly its purpose and object are
          1 "We the People of the United States, in order to form a more perfect Union, es-
      tablish justice, insure domestic tranquillity, provide for the common defence, promote
      the general welfare, and secure the blessings of Liberty to ourselves and our posterity,
      do ordain and establish this Constitution for the United States of America,"
          2 To have stated the number of States in the
                                                          preamble would, however, have been
      inconvenient, because it was uncertain, when the Constitution was framed, how many
      States would adopt it. It was provided by Art. 7 that, as soon as it was adopted by
       nine States, it should become binding upon the States adopting it, nine being within a
      fraction of three-fourths of the whole, and the assent of nine States having been required
      by the Articles of Confederation for the doing of all acts of prime importance. (See
      Art. 9, last paragraph but one, and Arts. Io and II.) In fact, only eleven States partici-
      pated in the first election of Washington as President, and only that number was rep-
      resented in Congress during the first session of the first Congress.
          3
            Moreover, the usage of the times furnishes positive proof that the terms "com-
      mon defence" and "general welfare" were used in the preamble with exclusive refer-
      ence to the thirteen States; for the words "common" and "general" were familiarly
      used to distinguish what concerned the United States from what concerned the several
      States as such, and that too at a time when "United States" could not possibly mean
      anything else than the thirteen United States. Thus, the 3d Article of Confedera-
      tion provides as follows: "The said States hereby severally enter into a firm league of
      friendship with each other, for their 'common' defence, the security of their liberties,
      and their mutual and 'general' welfare." So also the 5th Article contains the follow-
      ing: "For the more convenient management of the 'general' interest of the United
      States, delegates shall be annually appointed . . . to meet in Congress." So also in
-cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pa
                   THE      STATUS        OF OUR        NEW        TERRITORIES.                   373

      declared to be to secure the blessings of liberty to the people by whom
      it is ordained and established, and their successors; for, though the
      word used is "posterity," it is clearly not used with literal accuracy,
      but in the sense of "successors." According to the preamble, there-
      fore, the Constitution is limited to the thirteen States which were
      united under the Articles of Confederation; and it is by virtue of Art.
      4, sect. 3, subsect. I,1 and in spite of the preamble, that new States
      have been admitted upon an equal footing with the original thirteen.
         In the phrases, "Congress of the United States," 2 "Senate of the
      United States," 3 "President of the United States," or "Vice Presi-
      dent of the United States," 4 "office under the United States," 5
      "officers of the United States," "on the credit of the United
      States," 7 "securities and current coins of the United States," 8 " ser-
      vice of the United States," 9 "government of the United States,"10
      "granted by the United States," 1 "Treasury of the United States," 12
      "Constitution of the United States," 13 "army and navy of the United
      States," 14"offences against the United States," 15 "judicial power of
      the United States," 16 "laws of the United States," 17 "controversies
      to which the United States shall be a party," 18 "treason against
      the United States," 19 "territory or other property belonging to the
      the 7th Article are the words: "When land forces are raised by any State for the
      'common' defence," etc. So in the 8th Article are the words: "All charges of war,
      and all other expenses that shall be incurred for the 'common' defence or 'general'
      welfare, and allowed by the United States in Congress assembled, shall be defrayed
      out of a 'common' treasury." Lastly, the 9th Article contains the following: "The
      United States in Congress assembled shall have authority to appoint such other com-
      mittees and civil officers as may be necessary for managing the 'general' affairs of the
      United States under their direction."
         1 See supra, page 370, note I.               2 Art.
                                                              i, sect. i; Art. i, sect. 2, subsect. 3.
         a Art. i, sect. 3, subsect. i.
         4 Art.
                 I, sect. 3, subsects. 4, 5, and 6; Art. 2, sect. i, subsects. I and 8; 12th Amend-
      ment; I4th Amendment, sect. 2; Art. i, sect. 7, subsects. 2 and 3.
         5 Art. I, sect. 3, subsect. 7; Art. I, sect. 9, subsect. 8; Art. 2, sect. I, subsect. 2; Art.
      6, subsect. 3; I4th Amendment, sect. 3; Art. i, sect. 6, subsect. 2.
         8 Art. 2, sect. 2, subsect. 2, sect. 3, sect. 4; Art. 6, subsect. 3; I4th Amendment, sect. 3.
         7 Art.
                 i, sect. 8, subsect.2.                                  8 Art. I, sect. 8, subsect. 6.
         9 Art. I, sect. 8, subsect. i6; Art.
                                                   2, sect. 2, subsect. I.
         10 Art. I, sect. 8, subsects. 17 and 18; Art. 2, sect. i, subsect.
                                                                                  3; I2th Amendment.
         11 Art. I, sect. 9, subsect. 8.
         12 Art.
                  i, sect. I0, subsect. 2; Art. i, sect. 6, subsect. i.
         13 Art.
                  2, sect. i, subsect. 8; I4th Amendment, sect. 3.
         14 Art.
                  2, sect. 2, subsect. i.                             15 Art. 2, sect. 2, subsect. i.
         16 Art.
                  3, sect. I; IIth Amendment.
         17 Art.
                  3, sect. 2, subsect. I; Art. 6, subsect. 2.
         18 Art. 3, sect. 2, subsect. i.                              19 Art.
                                                                              3, sect. 3, subsect.i.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
      374                        HARVARD         LAW      REVIEW.


      United States,"1 "claims of the United States,"2 "the United
      States shall guarantee," "shall be valid against the United
      States,"4 "under the authorityof the United States," "court of
      the United States,"6 "delegated to the United States,"7 "public
      debt of the United States,"8 "insurrectionor rebellion against the
      United States,"9 "shall not be denied or abridged by the United
      States,"10 "neither the United States nor any State shall assume
      or pay," 1 the term "United States" is used in its second sense.12
      It seems also to be used in the same sense in the phrase, "citizen
      of the United States;" 13 for it is only as a unit, a body politic, and
      a sovereign,that the United States can have citizens,- not as the
      collective name of forty-five States. In the phrase, "common
            Art. 4, sec 3, subsect. 2               3,          2. Art. 4,
                                                         subsect.             t.
                                                               4 Art.
         3 Art. 3, sect. 4.                                             6, subsect. I.
         6 Art. 6, subsect. 2.                                 6 7th Amendment.
         7 Ioth Amendment.                                      8
                                                                   I4th Amendment, sect. 4.
         9 I4th Amendment, sect. 4.                            10
                                                                   i5th Amendment.
        11I4th Amendment, sect. 4.
         12 As the second sense in which the term "United States" is used in the Constitu-

      tion had no existence prior to the time of the adoption of the Constitution, it follows
      that, whenever the Articles of Confederation use the term in such phrases as any of
      those enumerated above or in similar phrases, they use it (as they do in all cases) in its
      original sense. Instances will be found in Art. 4 ["no imposition, duties, or restriction
      shall be laid by any State on the property of the United States or either of them"],
      Art. 5 ["nor shall any delegate hold any office under the United States," etc.], Art. 6
      ["nor shall any person holding any office of profit or trust under the United States or
      any of them accept of any present," etc.], Art. 9 ["no State shall be deprived of terri-
      tory for the benefit of the United States;" "nor ascertain the sums and expenditures
      necessary for the defence and welfare of the United States or any of them;" "in the
      service of the United States;" "Congress of the United States;" "on the credit of
      the United States;" "at the expense of the United States"], Art. ii ["Canada acced-
      ing to this confederation, and joining in the measures of the United States, shall be
      admitted into, and entitled to all the advantages of, this Union"], Art. 12 ["shall be
      deemed and considered as a charge against the United States, for payment and satis-
      faction whereof the said United States and the public faith are hereby solemnly
      pledged"], and Art. 13 ["Congress of the United States"].
          In most cases, however, in which the term "United States," in its second sense, or
      the term "Congress" or "Congress of the United States," would be used in the Con-
      stitution, the phrase "United States in Congress assembled" is used in the Articles of
      Confederation. That phrase occurs in those articles a great number of times, and,
      whenever it occurs, "United States" is used in its original sense. This is clearly
      brought out by the following words in Art. 5: "Each State shall maintain its own
      delegates in any meeting of the States;" also by the following words in Art. io: "the
      voice of nine States in the Congress of the United States assembled;" and also by the
      following words in Art. I2: "before the assembling of the United States [not the dele-
      gates of the United States] in pursuance of the present confederation."
         13 Art.
                 i, sect. 2, subsect. 2; Art. i, sect. 3, subsect. 3; Art. 2, sect. i, subsect. 5;
      i4th Amendment, sects. i and 2; i5th Amendment, sect. I.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
                  THE     STATUS       OF OUR NEW            TERRITORIES.                375

      defence and general welfare of the United States,"1 it seems to be
      used in its first or original sense, especially as "common defence"
      and "general welfare" are taken from the preamble.2 Certainly
      there is no pretencefor saying it is used in its third sense. In the
      phrase, "throughoutthe United States,"3 there is believed to be no
      doubt that it is used in its original sense,4though it may be claimed
      that it is used in its third sense.5 That it is used in its originalsense
      in one instance is certain;6 and when the same phrase is used in
      differentparts of the Constitution,a strong presumptionarises that
      it is always used in the same sense.
         In the phrase, "resident within the United States,"7 there can
      be no doubt that "United States" is used in its original sense, the
      meaning being the same as if the words had been, "resident in one
      or more of the United States."
         The phrase,"one of the United States," affordsa good instanceof
      the use of "United States" in its originalsense.8
         In the phrase, "shall not receive any other emolumentfrom the
      United States or any of them," 9 it is certain that "United States"
      is used in its second sense, though it is also certainthat the draughts-
      man supposedhe was using it in its originalsense.10
         1 Art.                                    2 See
                 i, sect. 8, subsect. I.                 supra, page 372, and notes I and 3.
          3 Art. i, sect. 8, subsects. i and 4; Art. 2, sect. i, subsect. 3.
          4 It has been seen
                                (supra, p. 365, n. 2) that the first time the term "United Col-
      onies" occurs in the Journal of Congress, it is in the phrase, "thrbughout the twelve
      United Colonies." The phrase, "throughout the United States" is also used in two
      instances in the 9th Article of Confederation ["the United States in Congress assem-
      bled shall have the sole and exclusive right and power of fixing the standard of weights
      and measures throughout the United States . . . establishing or regulating Post
      Offices from one State to another throughout all the United States"], in neither of
      which can it possibly have any other meaning than throughout the thirteen United
      States. Can any reason then be given for supposing that the authors of the Constitu-
      tion attached a wholly different meaning to the same phrase, namely, "throughout all
      the territory within the sovereignty of the United States"? It is believed that there
      cannot; and yet the question depends entirely upon intention. For the reader should
      bear in mind the fact that, while the term "United States" may have its second mean-
      ing in the Constitution, though it was previously used in the same phrase with its
      original meaning (and that, too, without any change of intention), it cannot, in the
      Constitution or elsewhere, have its third meaning, in a phrase in which it had previously
      had its first meaning,_ without a'corresponding change of intention.
            See infra, page 38I.
          6 Art. 2, sect. I, subsect. 4 ["The Congress may determine the time of choosing the
      electors, and the day on which they shall give their votes; which day shall be the same
                                                     7 Art. 2, sect. I, subsect. 5.
      throughout the United States "].
          8 Art.
                 2, sect. i, subsect. 7.
                                                     9 IIth Amendment.
         10 At
                page 374, note 12, will be found an extract from the 4th Article of Confedera-
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
      376                     HAR VARD        LAW     REVIEW.

         In the phrase, "all persons born or naturalized in the United
      States," ' it seems clear that "United States" is used in its original
      sense; for, first, it is either used in that sense or in its third sense,
      and, as the latter is not a constitutional or legal sense, there is
      a presumption that the term is not used in that sense in an amend-
      ment of the Constitution; secondly, it is declared that the same
      persons shall be citizens of the State in which they reside, and this
      shows that the authors of the amendment contemplated only States,
      for, if they had contemplated Territories as well, they certainly
      would have said "citizens of the State or Territory in which they
      reside"; thirdly, the whole of the I4th Amendment had reference
      exclusively to the then late war, and was designed to secure its
      results, - in particular to secure to persons of African descent
      certain political rights, and to take from the States respectively in
      which they might reside the power.to deprive them of those rights.
      Moreover, the amendment consists mainly of prohibitions, and
      these are all (with a single exception which need not be mentioned)
      aimed exclusively against the States. It was no part of the object
      of the amendment to restrain the power of Congress (which its
      authors did not distrust), and hence there was no practical reason
      for extending its operation to Territories, in which all the power
      resided in Congress. What is the true meaning of "United States"
      in the phrase under consideration is certainly a question of great
      moment, for on its answer depends the question whether all persons
      hereafter born in any of our recently acquired islands will be by birth
      citizens of the United States.
         The foregoing comprise all the instances but one in which the
      term "United States" is used either in the original Constitution,
      tion, in which occurs the phrase, "the United States or either of them," and also an
      extract from the 6th Article, in which occurs the phrase, "the United States or any of
      them;" and, while these phrases are perfectly correct where they stand, yet a transfer
      to the Constitution of the passages containing them would have made the same phrases
      incorrect, as such transfer would have changed the meaning of "United States." On
      the other hand, a transfer to the Constitution of an extract in the same note from
      Art. 9, containing the same phrase, would, it seems, have caused no change in the
      meaning of "United States," and hence the phrase in question would have been cor-
      rect, notwithstanding such transfer.
          1 I4th Amendment, sect. I: ["All persons born or naturalized in the United
                                                                                      States,
      and subject to the jurisdiction thereof, are citizens of the United States and of the
      State wherein they reside. No State shall make or enforce any law which shall abridge
      the privileges or immunities of citizens of the United States; nor shall any State de-
      prive any person of life, liberty, or property without due process of law; nor deny to
      any person within its jurisdiction the equal protection of the laws."]
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
                  THE STATUS           OF OUR NEW            TERRITORIES.                 377

      or in any of its amendments. The other instance is found in the
      i3th Amendment,'-in        which "United States" is plainly used in
      its original sense, if the words which follow it are to have any
      meaning; and yet, if the authors of that amendment had under-
      stood that the term "United States," when used in the Constitution
      to express extent of territory, had its third meaning, they would have
      omitted the words, "or any place subject to their jurisdiction."
         If a broader view be taken of the Constitution and its amend-
      ments, it will be found that the only portions of it which indicate
      the slightest intention to extend their operation beyond the limits
      of the States, are the clause authorizing the admission of new States,2
      the clause providing for the government of territories,3 and the I3th
      Amendment.
         The Constitution of the United States, like other constitutions,
      is mainly occupied with the creation and organization of the
      three great departments of government,-the          legislative, the ex-
      ecutive, and the judicial. Accordingly, the first three articles,
      comprising about six-sevenths of the whole, are entirely occupied
      with these three departments respectively. The last three sections
      of Art. i (namely, the 8th, gth, and Ioth Sections) are, however,
      peculiar to the Constitution of the United States as a federal con-
      stitution, and will, therefore, be excluded from view for the present.
      Of the remainder of Art. I, and of the whole of Arts. 2 and 3, it
      may be affirmed that not one word in either has any reference or
      any application to any territory outside the limits of the States.
      As to Arts. i and 2, the correctness of this view has never been
      questioned, and, as to Art. 3, its correctness is established by the
      uniform practice of the legislative department4 of the govern-

            ["Neither slavery nor involuntary servitude, except as a punishment for crime,
      whereof the party shall have been duly convicted, shall exist within the United States
      or any place subject to their jurisdiction."]
          2 See supra,
                        page 370, note i.
          a Art. 4, sect. 3, subsect. 2.
          4 For
                 example, the entire judicial power in the Territories has always been vested
      by Congress in one set of courts, regardless of the dual system which exists in all the
      States by virtue of Art. 3 of the Constitution. Moreover, these courts have always
      been termed Territorial courts (not United States courts), and have always been so re-
      garded; the statutes by which they have been created and governed are wholly separate
      and distinct from those creating and governing the courts of the United States within the
      States; their judges have generally held office only for a term of four years, whereas
      all judges appointed under Art. 3 of the Constitution hold office during good behavior;
      and originally there was no appeal from any Territorial court to the Supreme Court.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
       378                   HARVARD         LAW REVIEW.

      ment, and by a uniform course of decisions in the judicial
      department.1
         A distinction must, however, be made between those articles of
      the Constitutionby which the several departmentsof the govern-
      ment were respectivelycreated and organized, and, those depart-
      ments themselves; for the reasoning which is applicable to the
      former is not necessarilyapplicableto the latter, nor is the same
      reasoning necessarily applicable to all of the latter. It does not
      follow, because a department of the government is created and
      organizedby the Constitutionwith referencesolely to a given ter-
      ritory, that, therefore,the power of that departmentand its sphere
      of action are limited to that territory. It may or may not be true,
      and it may be true of one department, and not true of another
      department. In fact, it is true of the judicial department,but it
      is not true of either the legislative or the executive department.
      How is it, then, that one of these three departmentscan differ so
      materiallyfrom the other two, when no such differenceis indicated
      by the Constitution, which created and organized them all? It
      is because the differencedepends, not upon the Constitution,but
      upon the nature of the departmentsthemselves. The legislative
      and executivedepartmentsare sovereignin their nature, and, there-
      fore, their power and sphere of action are co-extensive with the
      sovereignty of the United States, of which sovereigntythey con-
      stitute the vital part,--of which, in fact, they constitute all that
      has been delegated. It is by them alone that the sovereigntyof
      the United States can, without changing or overthrowingthe pres-
      ent Constitution,either speak or act, i. e., either declare its will,
      or execute that will when declared. The judicial department,on
      the other hand, is not the depositary of any portion of the sov-
      ereign power; its function is simply to judge; it cannot even
      enforce its own judgments; without the support of both the legis-
      lative and executive departmentsit could have no existence, other
      than theoretical,since the latter alone can appoint judges, and the
      former alone can provide them with salaries. It is true that the
      judicial department sometimes disregardswhat the legislative de-
      partment has declared to be the sovereign will; but that is not
      because of the nature of the judicial office,- it is rather in spite
         1 Sere v. Pitot, 6 Cr. 332; Am. Ins. Co. v. Canter, I Pet. 5II; Benner v. Porter,
       9 How. 235; Clintonv. Englebrecht,13 Wall. 434; Reynoldsv. U. S., 98 U. S. 145;
      The City of Panama, Ioi U. S. 453; McAllister v. U. S., I41 U. S. I74.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
               THE STATUS       OF OUR NEW       TERRITORIES.           379

      of it; it is not because it is the function of the judicial depart-
       ment to sit in judgment upon the action of the legislative depart-
      ment, but because the judicial department has held that it cannot
      do otherwise than disregard an act of the legislative department
      which is in violation of the Constitution, without itself. incurring
      the guilt of violating the Constitution, and also (it may be added)
      because the legislative department and the people have acquiesced
      in that view.
         While, therefore, the power of the legislative and executive de-
      partments is co-extensive with the sovereignty, the judicial depart-
      ment can exercise only such jurisdiction as has been delegated to
      it; and hence its jurisdiction would still be limited to the original
      thirteen States, had not the Constitution provided for the admission
      of new States.
         There is, therefore, no room for any question as to where either
      the legislative, the executive, or the judicial power in our new ter-
      ritories resides; for the legislative power clearly resides in the
      Congress of the United States, and the executive power in the
      President of the United States; and the power of establishing
      the judicial department also resides in Congress, though Congress
      cannot itself exercise the power belonging to that department. In
      the legislative and executive departments, therefore, is vested all
      the sovereign power in our new territories that has been delegated
      by the people; and the real question is in what character, and sub-
      ject to what limitations, if any, do they hold this power. Does Con-
      gress (for example) hold the legislative power there as it does in the
      States, i. e., subject to all the limitations and restrictions imposed
      by the Constitution; or does it hold that power in the new terri-
      tories without any other limitation than that imposed by the
      I3th Amendment, namely, that it shall not establish slavery in
      any of them; or does the truth lie somewhere between these two
      extremes? And this brings us to the question whether the limita-
      tions and restrictions imposed upon Congress by the Constitution
      are operative outside the States. These limitations and restrictions
      are found chiefly in the 8th and gth sections of Art. i, and in the
      first ten Amendments.
         The 8th Section of Art. i owes its existence entirely to the fact
      that the Constitution of the United States, while it is a true consti-
      tution, and creates a true sovereign, is yet a federal constitution.
      By it the people of each State vested a portion of the sovereignty
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
       380               HARVARD      LAW REVIEW.

      of that State in the new sovereign created by the Constitution, i. e.,
      they made a partition of the sovereignty of the State between
      the State and the United States, and the 8th section of Art. I
      contains that partition. The mode of making it was by granting
      to the new sovereign those branches of sovereignty which are
      enumerated in the respective subsections of Section 8.            That
      section, therefore, so far as regards its main object and scope, can
      have no application to any territory beyond the limits of the several
      States, for no partition was to be made of the sovereignty over
      any such territory. A strong presumption, therefore, arises that no
      part of the section was intended to extend beyond the limits of the
      States, as it cannot be supposed that any incidental objects were in-
      tended to have a more extensive operation than the main object.
         What were the incidental objects of the section? One was
      to provide security that the United States, in exercising those
      branches of sovereignty which had been granted to it, should
      treat all the States alike; for, if no such security were provided,
      a majority of States might at any time combine to oppress a
      minority. Accordingly, subsection i having granted to Congress
      the power "to lay and collect taxes, duties, imposts, and excises,"
      it is added "but all duties, imposts, and excises shall be uniform
      throughout the United States." So, also, subsection 4 grants to
      Congress the power to establish an "uniform" rule of naturaliza-
      tion, and "uniform" laws on the subject of bankruptcies "through-
      out the United States." Reasons have already been given for
      believing that the term "United States," in both these sub-
      sections, is used in its original sense; and we now find another
      argument, in favor of the same view, in the scope and object of
      Section 8. As it would be absurd to hold that the grant of power
      in these subsections had any reference to territories as distin-
      guished from States, since Congress has full legislative powers in
      the territories without any grant from the States, so it would be
      absurd to hold that the limitation of the power has a more exten-
      sive operation than the power itself. Moreover, if all other argu-
      ments fail, it is at least true that those subsections contain nothing
      whatever to overthrow the presumption in favor of their being
      limited in their operation to the States.
         There is a dictum by Chief Justice Marshall, in Loughborough v.
      Blake,' which is opposed to the view insisted upon in this article.
                                   5 Wheat. 317.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
               THE STATUS          OF OUR NEW   TERRITORIES.                38i

      It is, however, only a dictum, as the learned Chief Justice himself
      admits. The circumstances of the case were these. Jan. 9, 1815,
      Congress passed an Act1 laying an annual direct tax of $6,000o,ooo
      upon the United States, which sum it proceeded to apportion among
      the eighteen then existing States. Feb. 27, I815, Congress passed
      another Act,2 which in effect extended the first Act to the District
      of Columbia. The plaintiff having refused to pay his share of the
      tax imposed upon the District by the second Act, claiming that
      the Act was unconstitutional, his property was seized, and he
      brought trespass against the officer making the seizure. The
      plaintiff's claim admitted of a very short answer, namely, that by
      Art. i of the Constitution, Section 8, subsection I7, Congress had
      all the power within the District that it had in any State plus
      the power of the legislature of that State, and, therefore, had an
      unqualified power of taxation. Still, the Chief Justice thought it
      desirable (for what reason is not very apparent) to show that Con-
      gress also had the power to impose the tax under the same grants
      of power by which it was authorized to pass the first Act. Accord-
      ingly, he said, first, the power given to Congress to lay and col-
      lect taxes was in terms without limitation as to place; secondly,
      the power to lay and collect taxes had the same extent as to
      place as the power to lay and collect duties, imposts, and excises;
      thirdly, the latter power was required to be exercised uniformly
      th.oughout the United States, and it could not be so exer-
      cised unless it extended throughout the United States; and this
      brought him to the question, what was meant by "United States"
      in the phrase, "throughout the United States." "Does this term,"
      said he,3 "designate the whole or any particular portion of the
      American Empire?         Certainly this question can admit of but
      one answer. It is the name given to our great republic, which
      is composed of States and Territories. The District of Colum-
      bia, or the territory west of the Missouri, is not less within
      the United States than Maryland or Pennsylvania." If this dic-
      tum be taken as simply giving one of the meanings of the term
      "United States," and without reference to the Constitution, its cor-
      rectness cannot be questioned; but it seems not to have occurred
      to its learned author that, while the meaning which he attributed
      to the term was one of its meanings, it had other meanings also;
                1 C. 21, 3 Stats. I64.           2
                                                     C. 60, 3 Stats. 216.
                3 5 Wheat. 319.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
       382                            RD
                                HARARVA         LAW      REVIEW.

      that it had been used in anothersense in the first1 of the two
      Acts of Congresswhich gave rise to the litigation in question, and
      that his argument,therefore,requiredhim to show that the mean-
      ing which he attributedto the term, rather than one of the others,
      was its true meaning in the clause of the Constitutionupon which
      he was commenting.
         Perhaps it will not be thought unreasonableto place against the
      dictum in question the dictum of Webster in another case,2 also
      decided by Chief Justice Marshall. It is true that he was arguing
      for a client; but then it was not his habit, even as counsel, to
      state propositionsof law which he did not believe to be true, and
      the truth of which he was not preparedto maintain. He said:3
      "What is Florida? It is no part of the United States. How can
      it be? How is it represented? Do the laws of the United States
      reach Florida? Not unless by particularprovisions. The Terri-
      tory and all within it are to be governedby the acquiringpower,
       except where there are reservations by the treaty ....                         Florida
       was to be governedby Congressas she thought proper. What has
       Congress done? She might have done anything,- she might
       have refused a trial by jury, and refused a legislature. . . . Does
       the law establishing the court at Key West come within the re-
       strictions of the Constitutionof the United States? If the Con-
       stitution does not extend over this territory, the law cannot be
       inconsistent with the national Constitution." It may be added
       that the decision was in Webster'sfavor, that not a word was said
       by the Chief Justice in disapprovalof the passage just quoted, that
       Loughboroughv. Blake was not cited either by counsel or judge,
       that it has seldom been cited by any memberof the court by which
       it was decided, and that the dictum under considerationhas, it is
       believed,never been so cited.
          One other observation may be made upon Loughboroughv.
       Blake, namely, that the District of Columbia differs materially
       from a Territory, that the former is within the limits of a State,
       was once a part of a State, and, therefore,the Constitutiononce

          1 Which enacts
                            (sect. i) "that a direct tax of $6,000,000ooo
                                                                       be and is hereby annually
       laid upon the United States, and the same shall be and is hereby apportioned to the
       States respectively in manner following: To the State of New Hampshire $I93,586.74,"
       etc. (enumerating the eighteen then existing States). Plainly, therefore, "United
       States" is here used in its original sense.
          2 Am. Ins. Co. v.                                        a I Pet. 538.
                               Canter, i Pet. 511.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
                  THE STATUS          OF OUR NEW           TERRITORIES.               383

      extended over it; and it may not be easy to show that it has ever
      ceased to extend over it.
         The object of the gth Section of Art. i is to prohibit Congress
      from doing certain things which it would otherwise have had the
      power to do under the several grants in the 8th section. Its
      object was, therefore,the same as that of the limitationscontained
      in Section 8, and hence it would be as irrationalto give Section 9
      a more extensive operation, in respect to territory,than Section 8
      has as it would be to give to the limitations upon the power of
      Congress imposed by Section 8 upon the grants contained in that
      section a more extensiveoperationthan the grants themselveshave.
         An examinationof the different subsections of Section 9 (other
      than subsection i, which, having ceased to be operative, may be
      passed over) will lead to the same conclusion. Thus, subsection
      2 provides that the writ of Habeas Corpusshall not be suspended,
      except under special circumstances; subsection 3, that no bill of
      attainder or ex post facto law shall be passed; subsection 4, that
      all "capitation or other direct" taxes which shall be laid shall be
      apportioned among the States according to the respective num-
      bers of their inhabitants, i. e., shall neither be laid upon property
      without referenceto State lines, nor apportionedamong the States
      according to their property;1 subsection 5, that no tax or duty
      shall be laid on articles exportedfrom any State; subsection 6,
      that no preferenceshall be given by any regulation of commerce
      or revenue to the ports of one State over those of another, and
      that no vessel bound to or from one State shall be obliged to enter,
      clear, or pay duties in another; subsection 7, that no money shall
      be drawn from the Treasury but in consequenceof appropriations
      made by law, and a regular statement and account of the receipts
      and expendituresof all public money shall be published from time
      to time; and subsection8, that no title of nobility shall be granted
      by the United States, and that no person holding any office of trust
      or profit under them shall accept of any present, emolument,office,
      or title from any King, Prince, or foreign State.
        Of these seven subsections, no one discloses any intention to
      make it operativeover a greaterextent of territorythan any of the
      others, and it must, therefore,be assumed that the intention was,
         1
           By Article 8 of the Confederation, the amount of money required by Congress to
      be raised, from time to time, was to be apportioned among the States according to the
      aggregate value of the land in the States respectively, exclusive of crown lands.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
      384                 HIARVARD LAW REVIEW.

      in that respect, the same as to all; and hence it follows that they
      must all receive the same construction, in respect to the extent of
      territory over which they shall be operative, at least so far as their
      construction in that respect depends upon intention. Moreover,
      subsections 5 and 6 show conclusively upon their face that they
      are to be operative only within the States, and subsection 4 shows
      the same intention with sufficient clearness. Subsection 4 has
      also the same raison d'tre as the limitations in subsections i and
      4 of Section 8, i. e., it was designed to secure a minority of wealthy
      States against the risk of having the whole burden of government
      thrown upon them by the less wealthy majority; and, therefore, it
      is absurd to suppose that it was intended to be operative in terri-
      tories, - which were never to have any voice in Congress, and as
      to which, therefore, no such precaution was necessary.
          Subsection 8 of Section 9 is more doubtful as to the territorial
      extent of its operation than any other part of the Constitution,-
      not because of any intention that can be justly attributed to its
      authors, but because of the language in which it happens to be
      couched. Thus, it provides in effect, that no title of nobility shall
      ever be granted by the United States as a sovereign, and that no
      person holding office under the sovereignty of the United States
      shall accept any present, etc. Fortunately, however, this subsec-
      tion is of little importance, and any doubt that may exist as to its
      true construction, as it arises from accident, can have no influence
      upon the construction of other parts of the Constitution.
          In respect to the first ten Amendments of the Constitution, it
      seems scarcely necessary to say more than to refer briefly to the
      circumstances under which they were adopted. They were pro-
      posed by the first Congress and at its first session, and were a
      concession to the party which had opposed the adoption of the Con-
       stitution, and which had thus far prevented its ratification by two
       of the States, namely, Rhode Island and North Carolina. Some of
       the States also which had ratified it, had done so only because they
       had been induced to believe that it would be amended at the earliest
       opportunity.
          In respect to the nature and objects of the amendments adopted,
       it may be said that they are in the nature of a bill of rights, i. e.,
       they were designed still further to limit and restrict the powers of
       the new government under the grants contained in the first three
       articles of the Constitution, and especially those contained in the
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
                  THE    STATUS        OF OUR NEW           TERRITORIES.                385

      8th section of Art. i. It would be very surprising, therefore, if
      they should disclose any intention to extend their operation be-
      yond the limits of the States; and in fact they do not disclose any
      such intention. If any doubt exists as to the extent of territory
      over which any of them are operative, it is only as to the Ist
      Amendment,' and it arises, not from any doubt as to the intention
      of its authors, but from the same cause as in subsection 8 of
      Section 9 of Art. i. As to the remaining first ten Amendments,
      the utmost that can be said against the view now urged is that the
      language in which they are couched is so broad and general as to
      make them susceptible of an indefinite extension in respect to ter-
      ritory; but that is far from being sufficient to overcome the pre-
      sumption which exists in favor of their being limited to the States.
      Moreover, it is as true of the first ten Amendments as it is of the
      9th Section of Art. i, that the intention of their authors was the
      same as to all of them, so far as regards the extent of territory
      over which they were to be operative; and yet it is certain that
      some of them are limited in their operation to the States. Thus,
      the 6th Amendment provides that all criminal trials shall be by
      a jury of the "State and district" in which the crime shall have
      been committed;2 and by "district" is here meant either an
      entire State or a subdivision of a State. So the 7th Amendment
      perpetuates the right to trial by jury in common-law actions,
      and declares that no fact tried by a jury shall be otherwise
      re-examined in any court of the United States than according
      to the rules of the common law. It is assumed, therefore,
      that the common law of England will be the law of the land
      in every place where this amendment will be operative. More-
      over, the operation of the amendment is expressly limited to
      courts of the United States, i. e., courts exercising some portion
      of the judicial power conferred upon the United States by
      Art. 3 of the Constitution; and it is only within the States, as has
      been seen,3 that such power can be exercised, or such courts can
      exist. Lastly, the Ioth Amendment provides that the powers not
      delegated to the United States by the Constitution (i. e., in its first
      three articles), nor prohibited by it to the States (i. e., in Section Io
        1
            "Congress shall make no law respecting an establishment of religion, or prohibit-
      ing  the free exercise thereof; or abridging the freedom of speech, or of the press; or
      the right of the people peaceably to assemble, and to petition the government for a
      redress of grievances."
         2
            U. S. v. Dawson, I5 How. 467.                    3 See supra, page 378.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
       386                     HARVARD         LAW      RE VIE W.

       of Art. i), are reserved to the States respectively or to the people
       (i. e., the people of the respective States); and there could not well
       be a stronger proof that the sole object of the first ten amendments
       was to limit the power of the United States in and over the several
       States. Nor should the fact be lost sight of that these ten amend-
       ments as a whole are so peculiarly and so exclusively English that
       an immediate and compulsory application of them to ancient and
       thickly settled Spanish colonies would furnish as striking a proof of
      our unfitness to govern dependencies, or to deal with alien races, as
      our bitterest enemies could desire.
          It may be added that Art. 3, Section 2, subsection 3, is of the
      same nature as the first ten Amendments; and yet that subsection
      is limited, like the 7th Amendment, to the courts of the United
      States, and so to the several States, and that, too, not only for rea-
      sons applicable to the whole of Art. 3, but because it is expressly
      provided that all trials for crimes shall be held in the State where
      the crime was committed; and though it is added that, when not
      committed in any State, the trial shall be at such place as
      Congress by law directs, yet a crime not committed in a State can
      come within that subsection only when it is committed on the high
      seas, or in some place which is without an organized government,
      and so without the means of administering justice.'
          It must be admitted that the provisions, both of the original
      Constitution and of the amendments, securing the right of trial by
      jury, have several times been subjects of discussion in the Supreme
      Court, and that opinions have been expressed by members of that
      court that these provisions extend to Territories. But, in the
      recent case of the American Publishing Co. v. Fisher,2 the ques-
      tion was treated as still an open one; and though, in the still
      more recent case of Thompson v. Utah,3 the court professedly
      decided that the provisions in question extended to the former
      territory of Utah, yet it seems clear that the question was not
      involved in the decision. The only question directly involved was
      whether the clause in the constitution of Utah, providing that per-
      sons accused of felonies not capital should be tried by a jury of
      eight persons, was ex post facto as to a felony committed while
         1 See U. S. v.
                         Jones, 137 U. S. 202; Cook v. U. S., 138 U. S. I57, 181. It seems
      clear also that the Constitution intended that Congress, in directing the place of trial
      of a crime not committed in any State, should select a place within the limits of some
      State, as otherwise the trial could not be in a United States court.
         2 I66 U. S.                                        3 170 U. S. 343.
                      464.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
                  THE     STATUS        OF OUR NEW              TERRITORIES.                  387

      Utah was a territory, and, therefore, inoperative; and that question
      was decided in the affirmative, and for the reason that the law of
      the Territory, as it was when the crime was committed, required
      any person accused of such a crime to be tried by a jury of
      twelve persons. But, if such was the law of the Territory, it seems
      to have been immaterial how it was established, - whether by the
      Constitution of the United States, or by Act of Congress, or by Act
      of the territorial legislature; and, in fact, such was the law of the
      Territory by virtue of an Act of the territorial legislature,1 and there-
      fore it was not necessary for the accused to invoke the aid of the
      Constitution of the United States.2
         It may aid us in determining the status ot our new territories to
      inquire what their status would be, if the United States, instead of
      being a confederation of States, were a single State, organized sub-
      stantially as our several States are, or if it were a monarchy, either
      absolute or constitutional.
         The mere acquisition by one country (A, for example) of the
      sovereignty over another country (B, for example) produces no
      other legal effect upon the latter than to give it a new sovereign,
      and consequently to substitute the legislature and the chief execu-
      tive of A for those of B; but A and B will still be in strictness
      foreign to each other, each having its own government, laws, and
      institutions; and though the legislature and chief executive of
      each will be the same, yet they will act in an entirely different
      capacity when acting for B from that in which they act when act-
      ing for A.3 If any greater change than this is wrought, it will
      be because A has done something more to B than to acquire the
      sovereignty over her. She may do with B whatever she pleases,
      assuming the sovereignty which she has acquired over her to be
      absolute. She may (for example) incorporate B so completely with
      A that B's own government, institutions, and laws will cease to
           See I70 U. S. 345.   Moreover, by the Act of Sept. 9, I850, c. 5I, s. I7 (9 Stats. 435,
      458), for organizing the Territory of Utah, it was enacted as follows: "The Constitution
      and laws of the United States are hereby extended over and declared to be in force in
      said Territory of Utah, so far as the same, or any provision thereof, may be applicable."
      And though it was not within the power of Congress to extend the Constitution over
      territory to which it did not extend by its own force, yet Congress could give it the
      effect of a statute in such territory, and that was the effect of this provision.
         2 In Am. Ins. Co. v.
                                Canter, I Pet. 5II, 538, Webster, arguendo, said Congress had
      the power to refuse trial by jury to the Territory of Florida. See supra, page 382.
         3
           Hence, no statute made by the legislature of A as such will affect B, unless it ex-
      pressly declare that it shall extend to B. See supra, page 382.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
       388                HARVARD       LAW REVIEW.

       exist, and even she herself will cease to exist as a separate country;
       or A may keep the two countries entirely separate and distinct, and
       yet reduce the inhabitants of B to a condition of servitude. But if
       B be incorporated with A, or the inhabitants of B be reduced to
       a condition of servitude, it will not be because of the acquisition by
       A of the sovereignty over B, but because of the action taken by A
       consequent upon the acquisition of such sovereignty. If, indeed,
      A have a written constitution, by which her government was created
       and organized, and under which it acts, and the powers of such gov-
       ernment are subject to limitations imposed by the constitution, and
       such limitations are made by the constitution to apply to all future
       acquisitions of territory, and so are applicable to B, of course it will
      follow that the government of A will be subject to the same limita-
      tions when acting for B as when acting for A; and A can get rid of
      these limitations, in respect either to herself or B, only by changing
      or overthrowing her constitution.
         Does, then, the fact that the United States is a confederation of
       States make any difference? It is conceived that it makes no dif-
      ference whatever as to the foregoing principles; but it does sug-
      gest two observations which affect their application: first, that, as
      all the limitations imposed upon the United States by the Consti-
      tution have reference primarily to the States, and owe their exist-
       ence primarily to the fact that the sovereignty over the territory of
       each State is divided between the State and the United States,
      there is a strong presumption that such limitations have no appli-
       cation to territory which is subject to no State sovereignty, and in
      which the United States can exercise all the power which can be
      exercised within a State either by the State or by the United States;
      secondly, that there is but one known mode of incorporating nexvly
      acquired territory into the United States, namely, by admitting it
      as a State.
         Much confusion of ideas has been caused as to the effect of the
      acquisition of new territory by the United States, by the constant
      use of the word "annexation," -a         word which has no constitu-
      tional or legal meaning. It first came into general use in connec-
      tion with the agitation for and against the acquisition of Texas.
      Whether its use was by design or accident may not be certain. The
      acquisition of Texas was peculiar in this, namely, that it was the
      first instance (as it is still the only instance) of the acquisition of
      foreign territory by admitting it as a State. For this reason, the
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
                  THE     STATUS        OF   OUR NEW          TERRITORIES.                389

      word "admission" may have been thought objectionable, that word
      having become associated with the practice of admitting as States
      territory already within the sovereignty of the United States. The
      acquisition of Texas was peculiar also in another respect, namely,
      that it was the acquisition of an independent State with her own
      consent. In this respect, the case of Hawaii is similar to that of
      Texas; and this may account for the fact that Hawaii was acquired
      by the process (so called) of annexation.1 But, however this may
      be, the mode in which Hawaii was acquired does not at all affect
      her status when acquired, nor make it different from that of the
      Spanish islands which have been acquired by conquest and by
      treaty with Spain.
         What has been the practice of Congress in respect to those
      branches of legislation which the Constitution 2 requires to be uni-
      form throughout the United States, and does such practice indicate
      that Congress has held itself bound by the Constitution to make
      such legislation uniform throughout all territory within the sover-
      eignty of the United States? First, the undoubted fact that there
      has been hitherto no want of uniformity in the taxes, duties, im-
      posts, and excises laid and collected by Congress, nor in the rules
      of naturalization, or the laws on the subject of bankruptcies, estab-
      lished by Congress, proves nothing; for there has not hitherto been
      the slightest reason why legislation upon each of these subjects
      should not be uniform throughout all the territory over which it
      extended; nor have there been even two opinions upon the ques-
      tion. Secondly, the earliest legislation respecting duties upon
      imports and tonnage3 was limited in its operation to the States.
      This, however, may not have involved any constitutional question,
      as it did not follow that there was to be "free trade" between the
      territories and foreign countries, but rather that foreign goods
      could not enter the territories at all, for want of any ports of entry.4
          1 Another
                     point of similarity between Texas and Hawaii is, that both were acquired
      by joint resolution. The resolution of March I, 1845, by which Texas was acquired (5
      Stats. 797) is entitled, "Joint Resolution for annexing Texas to the United States;"
      but neither the verb "annex," nor the noun "annexation," occurs in the resolution itself.
      The resolution of July 7, I898, by which Hawaii was acquired, is entitled, " Joint Reso-
      lution to provide for annexing the Hawaiian Islands to the United States;" and the
      resolution itself declares "that the said Hawaiian Islands and their dependencies be,
      and they are hereby annexed as a part of the territory of the United States, and are
      subject to the sovereign dominion thereof."
         2 Art.
                i, sec. 8, subsects. i and 4.
         3 Acts of July 3I, 1789, ch. 5 (I Stats. 29), and Aug. 4, I790, ch. 57 (I Stats. I45).
         4 There
                   was, however, early legislation imposing excise duties, and this was also
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
       390                        HARVARD           LAW      REVIEW.

       The earliest legislation respecting naturalization and bankruptcy 2
       was also limited in its operation to the States; and it seems that
       this was in violation of the Constitution, if "United States," as
       used in Art. i, Section 8, subsection 4, includes the territories;
       for a consequence was that no person residing in a territory could
       be naturalized, and that neither any debtor residing in a territory,
       nor the creditors of any such debtor, could have the benefit of the
       bankrupt law. Thirdly, all naturalization acts except the first, and
       all bankrupt acts except the first, have been extended to the terri-
       tories, but it by no means follows that Congress regarded itself as
       bound by the Constitution so to extend them. So also the Act of
       March 2, I799,3 to regulate the collection of duties on imports and
       tonnage, was extended to the then existing territories, i. e., the
       latter were divided into collection districts; and this is true also of
       all similar acts which have since been passed, and of all territories
       which have since been acquried; and, if Congress had not taken
       this course, it must have either prohibited the importation of
       foreign goods into territories, or it must have admitted all foreign
       goods free of duty, or it must have established for the territories a
       revenue system of their own. Moreover, there were many reasons in
       favor of the course adopted, and none in favor of either of the other
       three: First, all the different parcels of territory acquired by the
       United States from time to time (with the unimportant exception
       of Alaska) were contiguous either to existing States or to terri-
       tory previously acquired; secondly, none of them differed more
       widely from the States in soil and climate than the States differed
       from each other; thirdly, they were all virtually without inhab-
       itants and were expected to be peopled by immigrants from the
       States, from the British Islands, and from Western Europe;
       fourthly, they were all expected, at an early day, to be formed
       into States, and as such to be admitted into the Union; fifthly,
       none of them produced (to any extent) dutiable articles which, if
       admitted into the United States free of duty, would either deprive
       the government of revenue, or compete with home products, or
       produce both of these effects; sixthly, they all bordered upon navi-
       limited to the States. See Act of March 3, 179I, ch. 8i (I Stats. I99). It seems, there-
       fore, that such legislation was in violation of Art. i of the Constitution, Sec. 8, subsect. I,
       if "United States," as used in that subsection, includes territories, as no excise duties
       were imposed upon the latter.
            Act of March 26, I790, ch. 29, I Stats. 103.
          2 Act of
                    April 4, I8oo, ch. 19, 2 Stats. 19.                3 I,Stats. 627.
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
                  THE    STATUS       OF OUR NEW            TERRITORIES.                391

      gable waters through which the products of all foreign countries
      could easily be imported into them, and, if admitted free of duty,
      could be smuggled thence into the States.'
         With the acquisition of Hawaii and the Spanish islands, however,
      all these conditions are radically changed. None of these islands
      have been acquired with a view to their being admitted as States,
      and it is to be sincerely hoped that they never will be so ad-
      mitted, i. e., that they will never be permitted to share in the gov-
      ernment of this country, and especially to be represented in the
      United States Senate. Their agricultural capabilities are very
      great, their products enter almost wholly into commerce, and all
      or nearly all of them are dutiable under our tariff. Some of them
      consist of articles from which the government raises a great amount
      of revenue, and most of them, if admitted free of duty, will compete
      ruinously with home products of the same kind. Lastly, none of
      these islands are manufacturing countries, nor are likely to become
      such, and none of them import articles which compete with their
      home products, and, therefore, duties should be levied on articles
      imported into them only for purposes of revenue.
         The strongest possible reasons, therefore, exist for abandoning
      totally, in respect to our new territories, the practice which has
      hitherto prevailed of extending to territories the revenue system
      of the United States, and for giving to each of them a revenue
      system of its own.2 This is required as well in justice to them as
      in justice to this country; for, while the admission of sugar and
      tobacco, for example, from those islands into this country free of
      duty, would ruin the producers of those articles in this country,
      and would make it necessary for the government to resort to new
      and oppressive modes of raising revenue, the extension to those
      islands of our tariff on imports would compel their people to buy

         I On the I4th of August, 1848, the then military governor of California wrote to the
      War Department as follows: "If all customs were withdrawn, and the ports thrown
      open free to the world, San Francisco would be made the depot of all the foreign goods
      in the North Pacific, to the injury of our revenue and the interests of our own mer-
      chants." See Cross v. Harrison, I6 How. 164, 183.
          2
            Congress seems to have taken it for granted that the revenue system of the United
      States was to be extended to the Hawaiian Islands; for the resolution by which those
      islands were acquired declares that "until legislation shall be enacted extending the
      United States customs laws and regulations to the Hawaiian Islands, the existing cus-
      toms relations of the Hawaiian Islands with the United States and other countries
      shall remain unchanged."
cr-00043-SPF Document 36-13 Filed in USDC ND/OK on 04/13/09 Pag
       392               HARVARD     LAW REVIEW.

      imported articles, not as their interests, but as our interests,
      dictate.
        If we are to undertakethe governmentof dependent countries,
      with any hope of gaining credit for ourselves,we must enter upon
      the task with a single eye to promotingthe interests of the people
      governed, and we must content ourselves with such material
      ad-antages as may accrue to us incidentally from a faithful dis-
      charge of our duty. Does the Constitutionof the United States
      preventour attemptingsuch a r61e? If it does, one will be driven to
      the conclusionthat the authors of that instrumentwere either less
      successful in saying what they meant, or else were less sagacious
      and far-sighted,than they have had the reputationof being.
                                                         C. C. Langdell.


                                   NOTE.
          THE numerouseditions of the Constitutionof the United States
       vary somewhatin their mode of dividing the differentsections into
       paragraphs,and in numbering the paragraphs. For example, in
       Art. i, Section 9, some editions print in one paragraphthe matter
       which, in the preceding article, is treated as constituting subsec-
       tions 5 and 6; and this, of course, changes the numberingof the
       remaining paragraphs. So in Art. 2, Section i, some editions do not
       number the third paragraph, it having been superseded by the
       I2th Amendment. Some editions also print and number the form
       of oath at the end of the section as a separateparagraph. In the
       precedingarticle the third paragraphis regardedas numbered,and
       the form of oath is not regardedas a separateparagraph; and hence
       the section is referredto as containingeight subsections.
